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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                         :
UNITED STATES OF AMERICA,                                :
                                                         :        20 Cr. 330 (AJN)
                  v.                                     :
                                                         :
GHISLAINE MAXWELL,                                       :
                                                         :
                                  Defendant.
                                                         :
                                                         :
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                MEMORANDUM IN SUPPORT OF GHISLAINE MAXWELL’S
                     THIRD MOTION FOR RELEASE ON BAIL




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                                        INTRODUCTION

       Ghislaine Maxwell respectfully submits this Memorandum in Support of her Third

Motion for Release on Bail.

       As Ms. Maxwell has stated on numerous occasions and reaffirms here: she has no

intention or desire to leave this country. She is an American citizen, has lived in United States

for 30 years, has strong family ties and the support of friends and family residing in this country.

She wants nothing more than to remain in the United States under whatever conditions the Court

deems necessary so that she can effectively prepare for trial and vigorously defend against the

25-year-old charges in the Indictment. Ms. Maxwell has already proposed an expansive and, to

our knowledge, unprecedented set of bail conditions that would reasonably assure her

appearance. (See Dkt. 97.) In light of the Court’s denial of that application (see Dkt. 106), Ms.

Maxwell now proposes two additional bail conditions to supplement the extraordinarily

restrictive bail package she has already offered.

            •   First, Ms. Maxwell will renounce her French and British citizenship to eliminate
                any opportunity for her to seek refuge in those countries, if the Court so requires.

            •   Second, Ms. Maxwell will have her and her spouse’s assets—excluding funds
                earmarked for living expenses, for legal fees and other expenses necessary to
                defend her against the criminal charges in this case and related civil lawsuits and
                for taxes—placed in a new account that will be monitored by a retired federal
                District Court judge and former United States Attorney who will function as asset
                monitor and will have co-signing authority over the account.

       The former condition goes well beyond the extradition waivers that the Court deemed

insufficient and should satisfy any concerns the Court may have that Ms. Maxwell may try to

seek a safe haven in France or the United Kingdom. (See id. at 11-13). As a non-citizen, Ms.

Maxwell will not be able to avail herself of any protections against extradition that may apply to


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citizens of those countries. The latter condition will restrain Ms. Maxwell’s assets so they

cannot be used for flight or harboring her outside of the jurisdiction of this Court. This should

satisfy the Court’s concern that the proposed bond was not fully secured and left assets

unrestrained that could be used for such purposes. (See id. at 17-18).

         In addition, since the last bail application, Ms. Maxwell has submitted twelve pretrial

motions that raise substantial legal and factual issues that may result in the dismissal of some or

all of the charges against her. Ms. Maxwell referenced some of these motions in her initial bail

application (see Dkt. 18 at 19) but was not in a position to fully articulate them until she had the

chance to review the discovery and research the legal issues in advance of the motion deadline of

January 25. These motions significantly call into question the strength of the government’s case

against Ms. Maxwell and the underlying justification for continued detention.

         Ms. Maxwell has already been denied a fair chance in the court of public opinion. She

has been maligned by the media, which has perpetuated a false narrative about her that has

poisoned any open-mindedness and impartiality of a potential jury. She has been relentlessly

attacked with vicious slurs, persistent lies, and blatant inaccuracies by spokespeople who have

neither met nor spoken to her. She has been depicted as a cartoon-character villain in an attempt

to turn her into a substitute replacement for Jeffrey Epstein. Yet, Ms. Maxwell is determined –

and welcomes the opportunity – to face her accusers at trial and clear her name. The additional

proposed bail conditions should quell any concerns that she would try to flee. The Court should

therefore grant bail under the proposed conditions so that Ms. Maxwell can adequately prepare

for trial.




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I.     The Proposed Additional Bail Conditions Will Reasonably Assure Ms. Maxwell’s
       Appearance in Court

       As set forth above, Ms. Maxwell now proposes two additional restrictions that eliminate

any means or opportunity that she may have to leave the country. The Court should therefore

reconsider its earlier ruling and grant bail under the proposed conditions. See United States v.

Rowe, No. 02 CR. 756 LMM, 2003 WL 21196846, at *1 (S.D.N.Y. May 21, 2003) (“[A] release

order may be reconsidered even where the evidence proffered on reconsideration was known to

the movant at the time of the original hearing.”); see also United States v. Petrov, No. 15-CR-66-

LTS, 2015 WL 11022886, at *3 (S.D.N.Y. Mar. 26, 2015) (noting “Court’s inherent authority for

reconsideration of the Court’s previous bail decision”).

       A.      Renunciation of Foreign Citizenship

       To demonstrate her commitment to abide by her conditions of release and to provide

further assurance to the Court that she will not attempt to leave the country, Ms. Maxwell is

willing to formally renounce her foreign citizenships in France and the United Kingdom. Should

the Court feel this drastic condition is necessary, the required documents will be submitted to the

appropriate authorities. Moreover, as a standard condition of bail, all of Ms. Maxwell’s

passports will be surrendered to the government and no further application will be made.

       If the Court deems it a necessary condition of release, Ms. Maxwell will formally

commence the procedure to renounce her foreign citizenship. The requisite paperwork is in the

process of being completed. Renunciation of UK citizenship can be accomplished immediately

upon granting of bail. The process of renouncing her French citizenship, while not immediate,

may be expedited.

       Citizenship is a precious and priceless asset. Ms. Maxwell’s decision to give up

citizenship from the county of her birth and the country of her upbringing demonstrates her

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earnestness to abide by the conditions of her release and underscores that she has no intention to

flee and reflects her deep need to communicate freely with counsel to prepare for her defense.

Her renunciation of foreign citizenship obviates the Court’s concerns about the validity of

waivers of extradition. (See Dkt. 106 at 13). Ms. Maxwell will have no ability to contest

extradition from France or the United Kingdom on the basis of citizenship, which removes any

incentive the Court and government believe she may have to seek refuge in those countries.

        B.       Restraint and Monitoring of Assets

        In denying bail, the Court noted that the bond was not fully secured, and that Ms.

Maxwell and her spouse would still have several million dollars in unrestrained assets that could

be used to facilitate her flight from the country. (See id. at 17-18). To assuage any concerns that

those assets would be available to finance flight to and shelter in a foreign country, Ms. Maxwell

has taken steps to create a monitorship that will place meaningful restraints on the assets that are

not used to secure the bond, while still allowing Ms. Maxwell to pay for her legal defense, for

her spouse to pay for daily living expenditures and for payment of taxes.

        1.       New Account

        All assets of Ms. Maxwell and her spouse, with the exception of money currently held in

escrow for legal fees and related defense expenses and the funds contained in the bank account in

the name of Ms. Maxwell’s spouse (“the Personal Account”)1, will be deposited in a newly

created account (“the New Account”) to be overseen by an asset monitor appointed pursuant to

order of the Court. The New Account will contain all of Ms. Maxwell’s and her spouse’s

remaining cash and other liquid assets, including any proceeds that result from the pending sale




1
 The Personal Account is identified as Account I on page 9 of the Financial Report annexed to Ms. Maxwell’s
Renewed Bail Application. (See Dkt. 97, Exhibit O.)

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of Ms. Maxwell’s London house and any other assets, excluding salary, hereinafter acquired.

The asset manager will approve the financial institution at which the New Account is created and

must approve and co-sign any expenditure from the New Account, with the exception of

disbursements for Ms. Maxwell’s legal fees in connection with the ongoing criminal and civil

litigation and for payment of taxes, which will not require authorization. No illiquid assets may

be sold, conveyed or transferred without approval of the asset monitor.

       2.      Other Assets

       The only funds that will not be included in the New Account are (1) the money currently

held in escrow by Ms. Maxwell’s attorneys, which will be used exclusively for her defense; and

(2) the roughly $450,000 in the Personal Account which her spouse will use only for living

expenses. The asset monitor shall regularly receive information regarding activity of the Personal

Account, including the account balance, on a weekly basis. The asset monitor must also receive

five-day advance notice of any check, on-line payment, or transfer of funds in any amount

exceeding $5,000, and the reason for such payment. Ms. Maxwell’s spouse agrees to be bound

by these restrictions and reporting requirements.

       The asset monitor shall report to Pretrial Services any possible non-compliance or

disbursement in violation of the terms and conditions specified above.

       3.      Selected Asset Monitor

       The Honorable William S. Duffey, Jr., a retired federal District Court judge and the

former United States Attorney for the Northern District of Georgia, has agreed to undertake the

position of asset monitor. (Judge Duffey’s bio is attached as Exhibit A.) Judge Duffey has

extensive experience evaluating and monitoring funds held in and disbursed from financial




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accounts and will be entrusted with the authority to oversee the assets of Ms. Maxwell and her

spouse, as described above.

Restraining Ms. Maxwell’s assets that are not used to secure the bond and placing them under

the supervision of a former federal District Court judge eliminates any concern that such funds

could be used to violate the terms of release.

II.    Ms. Maxwell’s Pretrial Motions Raise Substantial Legal and Factual Issues
       That Could Result in Dismissal of Some or All of the Charges Against Her

       In addition to the new conditions proposed above, the numerous substantive pretrial

motions now before the Court amply challenge the purported strength of the government’s case.

Ms. Maxwell’s pretrial motions raise serious legal issues that could result in dismissal of

charges, if not the entire indictment. Among the dozen submissions are motions to dismiss the

superseding indictment for breach of the non-prosecution agreement, for pre-indictment delay,

and for being based on improperly obtained evidence in violation of Ms. Maxwell’s

constitutional rights under the Fifth and Sixth the Amendments. Other motions seek dismissal of

the Mann Act charges as being time-barred and the perjury charges as based on non-perjurious

statements. These motions are substantial with a likelihood of success on the merits. These

motions cast substantial doubt on the alleged strength of the government’s case and warrant

granting bail on the conditions proposed.

III.   The Court Should Grant Bail

       Under the Bail Reform Act of 1984, a defendant must be released on personal

recognizance or unsecured personal bond unless the judicial officer determines “that such release

will not reasonably assure the appearance of the person as required or will endanger the safety of

any other person or the community.” 18 U.S.C. § 3142(b). The enhanced bail package proposed

by Ms. Maxwell contains financial burdens and a combination of restrictions that reasonably

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assure her appearance as required. Before preventive detention may be ordered under § 3142(e),

the Court is obliged to determine both whether the defendant is likely to flee the jurisdiction if

released, and whether any conditions of release will be reasonably certain to guard against this

propensity to flee. The Court expressed concerns and denied bail without indicating what

conditions would be reasonably certain to assure Ms. Maxwell’s appearance. Ms. Maxwell is no

danger to the community and not alleged to have been involved in ongoing criminal activity. To

say that there are absolutely no conditions flies in the face of cases where non-United States

citizens with no ties to the district, let alone the country, were released on lesser conditions for

alleged criminality ongoing up to or within hours of the time of arrest, in contrast to 26-year-old

claims alleged against Ms. Maxwell.2

        The additional conditions set forth above, which supplement the exceptional bail package

previously proposed, are sufficient to address the hypothetical risk of flight and secure Ms.

Maxwell’s presence at trial. The financial magnitude of the proposed bonds, the collateral

pledged to secure the bonds, the stringent requirements of home detention, the renunciation of

foreign citizenship and monitoring of assets contained in a special account from which no funds

can be withdrawn without the approval and signature of a retired federal District Court judge and

former United States Attorney are conditions that amply satisfy the concerns expressed by the

government and the Court. These cnditions are unique and unprecedented. They profoundly



2
  See Dkt. 97 at 34 (case-comparison chart in the Renewed Motion for Bail); cf. People v. Dominique Strauss-Kahn,
02526/2011(S.Ct. N.Y. County). Strauss-Kahn, a French citizen with no ties to the United States, was arrested on a
Paris-bound flight at JFK minutes before takeoff and later charged with several counts of sexual assault, including
felony charges punishable up to 25 years imprisonment, for sexual assault and attempted rape of a Manhattan hotel
housekeeper on the day of his arrest. The accusations were corroborated by semen containing Strauss-Kahn’s DNA
on the accuser’s uniform. The New York State Supreme Court granted bail in the amount of $1 million cash, 24-
hour home detention electronic monitoring ankle bracelet, and private 24/7 security guards. After surrendering his
French passport and posting an additional $5 million bail bond, Strauss-Kahn was placed under house arrest in a
residence in Manhattan. See https://www.theguardian.com/world/2011/ may/20/dominique-strauss-kahn-new-york-
apartment.

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affirm Ms. Maxwell’s earnestness in seeking bail to properly prepare her defense, not to flee.

The Court should grant bail to Ghislaine Maxwell.



                                         CONCLUSION

       The proposed additional conditions of release—renunciation of foreign citizenship and

restraint and monitoring of assets by a retired District Court judge—enhance the already

extraordinarily restrictive bail conditions proposed in Ms. Maxwell’s Renewed Motion for Bail.

In combination, these conditions satisfy the Bail Reform Act and reasonably assure Ms.

Maxwell’s appearance at trial. To deny Ms. Maxwell bail when such extraordinary and

restrictive conditions are available would be a miscarriage of justice.

Dated: February 23, 2021

                                                      Respectfully submitted,

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